         Case 1:19-mj-02251-JMC Document 16 Filed 07/15/19 Page 1 of 1



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           UNITED STATES DISTRICT COURT
      --------------- DISTRICT OF MARYLAND ---------------


                                         APPEARANCE

UNITED STATES OF AMERICA

v.                                            CASE NUMBER: JMC-19-2251

DARRYL A. VARNUM
To the Clerk of this Court and all parties of record:

       Please enter my appearance as counsel in this case for Darryl A. Varnum. I certify that I

am admitted to practice in this court.



Date: July 15, 2019
                                                                      /s/
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